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                  UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA

                          SAN JOSE DIVISION


IN RE ANTHEM, INC. DATA BREACH    Case No. 5:15-MD-02617-LHK
LITIGATION
                                  The Honorable Lucy H. Koh




              SETTLEMENT AGREEMENT AND RELEASE
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                       SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (“Settlement Agreement” or “Agreement”) is
made as of May 31, 2017, by and between, as hereinafter defined, (a) Settlement Class
Representatives on behalf of themselves and the Settlement Class, and (b) Defendants
(collectively, the “Parties”). This Agreement fully and finally compromises and settles any and
all claims that are, were, or could have been asserted in the litigation styled In re Anthem, Inc.
Data Breach Litigation, Case No. 5:15-MD-02617-LHK (N.D. Cal.).

                                           RECITALS

       WHEREAS, in February 2015 Anthem, Inc. (“Anthem”) announced that it had been the
victim of a criminal cyber attack on its computer systems in which the attacker gained
unauthorized access to the personal information of Anthem members and various other
individuals (the “Data Breach”).

        WHEREAS, after announcement of the Data Breach, multiple putative class action
lawsuits were filed against Anthem and other Defendants in jurisdictions across the country,
alleging that Defendants failed to properly protect personal information in accordance with their
duties, had inadequate data security, and delayed notifying potentially impacted individuals.

        WHEREAS, on June 8, 2015, the Judicial Panel on Multidistrict Litigation (“MDL
Panel”) transferred seventeen putative class action lawsuits to the Honorable Lucy H. Koh in the
United States District Court for the Northern District of California (the “Court”) for coordinated
pretrial proceedings.

         WHEREAS, additional lawsuits against one or more Defendants also were transferred to,
filed in, or otherwise assigned to the Court and included in coordinated pretrial proceedings as
part of In re Anthem, Inc. Data Breach Litigation, Case No. 5:15-MD-02617-LHK (N.D. Cal.).

       WHEREAS, the Court appointed Eve Cervantez, Andrew N. Friedman, Michael W.
Sobol, and Eric Gibbs as Class Counsel to represent Plaintiffs and putative class members in In
re Anthem, Inc. Data Breach Litigation.

       WHEREAS, Class Counsel filed a Consolidated Amended Class Action Complaint
(“CAC”) in In re Anthem, Inc. Data Breach Litigation, Defendants moved to dismiss the CAC,
and the Court granted in part and denied in part the motion by Order dated February 14, 2016.

      WHEREAS, Class Counsel filed a Second Consolidated Amended Class Action
Complaint (“SAC”) in In re Anthem, Inc. Data Breach Litigation, Defendants moved to dismiss
the SAC, and the Court granted in part and denied in part the motion by Order dated May 26,
2016.




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       WHEREAS, on July 16, 2016, Class Counsel filed a Third Consolidated Amended Class
Action Complaint (“TAC”) in In re Anthem, Inc. Data Breach Litigation, and Defendants filed
Answers to the TAC on August 4, 2016.

       WHEREAS, on February 24, 2017, Class Counsel filed a Fourth Consolidated Amended
Class Action Complaint (“FAC”) in In re Anthem, Inc. Data Breach Litigation, and Defendants
filed Answers to the FAC on March 17, 2017.

         WHEREAS, the Parties engaged in extensive fact and expert discovery over the course of
this litigation.

        WHEREAS, on March 10, 2017, Class Counsel filed a motion to certify certain classes
pursuant to Federal Rule of Civil Procedure 23, Defendants filed an opposition to that motion,
Class Counsel filed reply papers, and the Parties briefed six Daubert motions in connection with
class certification.

       WHEREAS, on January 25, 2017, the Court ordered the Parties to indicate whether they
were willing to engage in private mediation, and if so, to complete that private mediation by May
31, 2017.

       WHEREAS, the Parties engaged in three arm’s-length, in-person mediation sessions on
February 28, 2017 in New York, April 20, 2017 in New York, and May 22, 2017 in San
Francisco, under the direction of former United States District Judge Layn R. Phillips.

       WHEREAS, the Parties also engaged in additional mediation communications by
telephone and e-mail, both directly and through Judge Phillips, between February 28, 2017 and
May 31, 2017.

        WHEREAS, Class Counsel has investigated the facts relating to the Data Breach with the
assistance of consultants in cybersecurity and identity theft, analyzed the evidence adduced
during pretrial discovery, and researched the applicable law with respect to Plaintiffs’ claims
against Defendants and the potential defenses thereto, including the motions described above, 14
discovery motions, reviewing 3.8 million pages of documents, taking 80 percipient witness and
30(b)(6) depositions, defending 105 named Plaintiff depositions, producing four experts for
deposition, and taking five expert depositions.

        WHEREAS, Defendants deny any wrongdoing whatsoever, and this Agreement shall in
no event be construed or deemed to be evidence of or an admission or concession on the part of
any Defendant with respect to any claim of any fault or liability or wrongdoing or damage
whatsoever, any infirmity in the defenses that the Defendants have asserted or would assert, or to
the requirements of Federal Rule of Civil Procedure 23 and whether Plaintiffs satisfy those
requirements.

       WHEREAS, based upon their investigation and pretrial discovery as set forth above,
Class Counsel have concluded that the terms and conditions of this Agreement are fair,
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reasonable and adequate to Plaintiffs and Settlement Class Members and are in their best
interests, and have agreed to settle the claims asserted in In re Anthem, Inc. Data Breach
Litigation pursuant to the terms and provision of this Agreement after considering (a) the
substantial benefits that Settlement Class Members will receive from the Settlement, (b) the
uncertain outcome and attendant risks of litigation, (c) the delays inherent in litigation, and (d)
the desirability of permitting the settlement of this litigation to be consummated as provided by
the terms of this Agreement.

       WHEREAS, it is the intention of the Parties to resolve the disputes and claims which they
have between them on the terms set forth below.

        NOW, THEREFORE, in consideration of the promises, covenants, and agreements herein
described and for other good and valuable consideration acknowledged by each of them to be
satisfactory and adequate, and intending to be legally bound, the Parties do hereby mutually
agree, as follows:

1.     DEFINITIONS

        As used in this Settlement Agreement, the following terms shall have the meanings
indicated:

            1.1     “Action” or “Actions” means all the actions listed in Exhibit 1, which have
                    been filed in, transferred to, or otherwise assigned to the Court and included
                    in coordinated or consolidated pretrial proceedings as part of In re Anthem,
                    Inc. Data Breach Litigation, Case No. 5:15-MD-02617-LHK.

            1.2     “Administrative Expenses” means all of the expenses incurred in the
                    administration of this Settlement, including, without limitation, all expenses
                    or costs associated with the Notice Plan and providing Notice to the
                    Settlement Class, locating Settlement Class Members, determining the
                    eligibility of any person to be a Settlement Class Member, and administering,
                    calculating and distributing the Settlement Fund to Settlement Class
                    Members. Administrative Expenses also include all reasonable third-party
                    fees and expenses incurred by the Settlement Administrator in administering
                    the terms of this Agreement.

            1.3     “Affiliates” means, with respect to any Entity, any other Entity that directly
                    or indirectly controls, is controlled by, or is under common control with such
                    Entity. For purposes of this definition, “control” when used with respect to
                    any Entity means an ownership interest of at least twenty-five percent (25%)
                    and/or the power to direct the management and policies of such Entity,
                    directly or indirectly, whether through the ownership of voting securities by
                    contract or otherwise.



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     1.4    “Agreement” or “Settlement Agreement” means this Settlement Agreement.
            The terms of the Settlement Agreement are set forth herein including the
            exhibits hereto.

     1.5    “Alternative Compensation” means compensation to Settlement Class
            Members as set forth in Section 5.

     1.6    “Anthem” means Defendants Anthem, Inc.; Blue Cross and Blue Shield of
            Georgia, Inc.; Blue Cross Blue Shield Healthcare Plan of Georgia, Inc.;
            Anthem Insurance Companies, Inc.; Blue Cross of California; Anthem Blue
            Cross Life and Health Insurance Company; Rocky Mountain Hospital and
            Medical Service, Inc.; Anthem Health Plans, Inc.; Anthem Health Plans of
            Kentucky, Inc.; Anthem Health Plans of Maine, Inc.; HMO Missouri, Inc.;
            RightCHOICE Managed Care, Inc.; Healthy Alliance Life Insurance
            Company; Anthem Health Plans of New Hampshire, Inc.; Empire
            HealthChoice Assurance, Inc.; Community Insurance Company; Anthem
            Health Plans of Virginia, Inc.; HealthKeepers, Inc.; Blue Cross Blue Shield
            of Wisconsin; Compcare Health Services Insurance Corporation;
            Amerigroup Corporation; Amerigroup Services, Inc.; Amerigroup Kansas,
            Inc.; Amerigroup Washington, Inc.; HealthLink, Inc.; UniCare Life & Health
            Insurance Company; CareMore Health Plan; The Anthem Companies, Inc.;
            The Anthem Companies of California, Inc., and their current, former, and
            future Affiliates, Parents, Subsidiaries, and Successors.

     1.7    “Business Days” means Monday, Tuesday, Wednesday, Thursday, and/or
            Friday, excluding holidays observed by the federal government.

     1.8    “Claim Form” means the form Settlement Class Members submit (either in
            paper form or via the Settlement Website) to select Credit Services or
            Alternative Compensation, attached hereto as Exhibit 7.

     1.9    “Class Counsel” means Eve Cervantez, Andrew N. Friedman, Michael W.
            Sobol, and Eric Gibbs, as well as their respective firms, Altshuler Berzon
            LLP, Cohen Milstein Sellers & Toll PLLC, Lieff Cabraser Heimann &
            Bernstein LLP and Girard Gibbs LLP.

     1.10   “Court” means the United States District Court for the Northern District of
            California.

     1.11   “Credit Services” means the services described in Section 4.

     1.12   “Data Breach” means the data breach Anthem announced on or about
            February 4, 2015.



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     1.13   “Defendants” means all defendants identified in the FAC filed in In re
            Anthem, Inc. Data Breach Litigation, Case No. 5:15-MD-02617-LHK,
            including Anthem, Inc.; Blue Cross and Blue Shield of Georgia, Inc.; Blue
            Cross Blue Shield Healthcare Plan of Georgia, Inc.; Anthem Insurance
            Companies, Inc.; Blue Cross of California; Anthem Blue Cross Life and
            Health Insurance Company; Rocky Mountain Hospital and Medical Service,
            Inc.; Anthem Health Plans, Inc.; Anthem Health Plans of Kentucky, Inc.;
            Anthem Health Plans of Maine, Inc.; HMO Missouri, Inc.; RightCHOICE
            Managed Care, Inc.; Healthy Alliance Life Insurance Company; Anthem
            Health Plans of New Hampshire, Inc.; Empire HealthChoice Assurance, Inc.;
            Community Insurance Company; Anthem Health Plans of Virginia, Inc.;
            HealthKeepers, Inc.; Blue Cross Blue Shield of Wisconsin; Compcare Health
            Services Insurance Corporation; Amerigroup Corporation; Amerigroup
            Services, Inc.; Amerigroup Kansas, Inc.; Amerigroup Washington, Inc.;
            HealthLink, Inc.; UniCare Life & Health Insurance Company; CareMore
            Health Plan; The Anthem Companies, Inc.; The Anthem Companies of
            California, Inc.; Blue Cross and Blue Shield of Alabama; USAble Mutual
            Insurance Company, d/b/a Arkansas Blue Cross and Blue Shield; California
            Physicians’ Service d/b/a Blue Shield of California; Blue Cross and Blue
            Shield of Florida, Inc. d/b/a Florida Blue; CareFirst of Maryland, Inc.; Blue
            Cross and Blue Shield of Massachusetts, Inc.; Blue Cross and Blue Shield of
            Michigan; BCBSM, Inc. d/b/a Blue Cross and Blue Shield of Minnesota;
            Horizon Healthcare Services, Inc.; Blue Cross and Blue Shield of North
            Carolina; Highmark Inc. f/k/a Highmark Health Services; Blue Cross and
            Blue Shield of Vermont; Health Care Service Corporation, a Mutual Legal
            Reserve Company; and The Blue Cross and Blue Shield Association.

     1.14   “Effective Date” means the date upon which the Settlement contemplated by
            this Agreement shall become effective as set forth in Section 14.

     1.15   “Entity” means any corporation, partnership, limited liability company,
            association, trust or other or organization of any type.

     1.16   “Final Approval Order and Judgment” means an order and judgment that the
            Court enters after the Final Fairness Hearing, which finally approves the
            Settlement Agreement and dismisses Defendants with prejudice and without
            material change to the Parties’ agreed-upon proposed final approval order
            and judgment attached hereto as Exhibit 8.

     1.17   “Final Fairness Hearing” means the hearing to be conducted by the Court to
            determine the fairness, adequacy, and reasonableness of the Settlement
            Agreement pursuant to Federal Rule of Civil Procedure 23 and whether to
            issue the Final Approval Order and Judgment.


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     1.18   “Individual” means an individual or legal entity or their respective successors
            or assigns.

     1.19   “Net Settlement Fund” means the amount of funds that remain in the
            Settlement Fund after funds are paid from or allocated for payment from the
            Settlement Fund for the following: (i) reasonable Administrative Expenses
            incurred pursuant to this Settlement Agreement as set forth in Section 1.2, (ii)
            Taxes as described in Section 3, (iii) Service Payments approved by the
            Court, (iv) attorneys’ fees and costs approved by the Court, (v) Credit
            Services described in Section 4, and (vi) Out-of-Pocket Costs described in
            Section 6.

     1.20   “Notice” means notice of the proposed class action settlement to be provided
            to Settlement Class members pursuant to the Notice Plan approved by the
            Court in connection with preliminary approval of the Settlement,
            substantially in the forms attached hereto as Exhibit 5.

     1.21   “Notice Date” means the last date on which Notice is mailed to Settlement
            Class Members.

     1.22   “Notice Plan” means the settlement notice program developed by the
            Settlement Administrator substantially in the form attached hereto as Exhibit
            4, as approved by the Court.

     1.23   “Out-of-Pocket Costs” means out-of-pocket costs or expenditures that a
            Settlement Class Member actually incurred that are fairly traceable to the
            Data Breach, as set forth in Section 6. Out-of-Pocket Costs may include,
            without limitation, the following: unreimbursed fraud losses or charges;
            professional fees incurred in connection with identity theft or falsified tax
            returns; credit freezes; credit monitoring that was ordered after January 2015
            through the date on which the Credit Services become available through this
            Settlement Agreement; miscellaneous expenses such as notary, fax, postage,
            copying, mileage, and long-distance telephone charges; and time spent
            remedying issues related to the Data Breach at $15 per hour or unpaid time
            off work at the actual hourly rate of that Settlement Class Member,
            whichever is greater. Settlement Class Members shall not be compensated
            for more than ten hours of time spent remedying issues related to the Data
            Breach without a detailed showing how this time was expended and why it
            was necessary.

     1.24   “Out-of-Pocket Costs Claim Form” means the form (in paper or on the
            Settlement Website) attached hereto as Exhibit 6.

     1.25   “Parents” means, with respect to any Entity, any corporation or other entity
            that owns or controls, directly or indirectly, at least a majority of the
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             securities or other interests that have by their terms ordinary voting power to
             elect a majority of the board of directors or others performing similar
             function of such Entity.

      1.26   “Parties” means the Settlement Class Representatives, on behalf of
             themselves and the Settlement Class, and Defendants.

      1.27   “Person” means an individual or legal entity or their respective successors or
             assigns.

      1.28   “Personal Information” means names, dates of birth, member identification
             numbers, Social Security numbers, addresses, phone numbers, email
             addresses, and employment information that were stored on Anthem’s
             systems and accessed without authorization during the Data Breach.

      1.29   “Plaintiff” means a person who was named as a plaintiff in any complaint
             filed in one of the Actions or in In re Anthem, Inc. Data Breach Litigation,
             Case No. 5:15-MD-02617-LHK.

      1.30   “Preliminary Approval Order” means an order by the Court that preliminarily
             certifies a Settlement Class, approves this Agreement, including but not
             limited to the forms and procedure for providing notice to the Settlement
             Class, establishes a procedure for Settlement Class Members to object to or
             opt-out of the Settlement, and sets a date for the Final Fairness Hearing,
             without material change to the Parties’ agreed-upon proposed preliminary
             approval order attached hereto as Exhibit 3.

      1.31   “Qualified Settlement Fund means the account described in Section 3.3.

      1.32   “Released Claim” means any claim, liability, right, demand, suit, obligation,
             damage, including consequential damages, losses or costs, punitive damages,
             attorneys’ fees and costs, actions or causes of action, of every kind or
             description—whether known or Unknown (as the term “Unknown Claims” is
             defined herein), suspected or unsuspected, asserted or unasserted, liquidated
             or unliquidated, legal, statutory, or equitable—related to or arising from any
             of the facts alleged in any of the Actions.

      1.33   “Service Payments” means compensation awarded and paid to Settlement
             Class Representatives in recognition of their role in this litigation, as set forth
             in Section 11.

      1.34   “Settlement” means the settlement of the Actions by and between the Parties,
             and the terms thereof as stated in this Settlement Agreement.


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      1.35   “Settlement Administrator” means KCC. Class Counsel and Defendants
             may, by agreement, substitute a different Settlement Administrator, subject to
             Court approval.

      1.36   “Settlement Class” means all Individuals whose Personal Information was
             maintained on Anthem’s Enterprise Data Warehouse and are included in
             Anthem’s Member Impact Database and/or received a notice relating to the
             Data Breach; provided, however, that the following are excluded from the
             Settlement Class: (i) Defendants, any entity in which Defendants have a
             controlling interest, and Defendants’ officers, directors, legal representatives,
             successors, subsidiaries, and assigns; (ii) any judge, justice, or judicial officer
             presiding over this matter and the members of their immediate families and
             judicial staff; and (iii) any individual who timely and validly opts-out from
             the Settlement Class.

      1.37   “Settlement Class Member” means a member of the Settlement Class.

      1.38   “Settlement Class Representatives” means all plaintiffs named in the FAC
             filed in In re Anthem, Inc., Data Breach Litigation, Case No. 5:15-MD-
             02617-LHK, including Cindy Chadwick, Pearl Bruno, Daniel Randrup, Mary
             Ella Carter (on behalf of her minor daughter T), Kenneth Coonce, Steve
             Kawai, Kenneth Solomon, Joseph and Karen Jo Blanchard, Lillian Brisko,
             Alvin Lawson, James Schatzman, Janet Brunton, Kimberly Kos-Williams,
             Gary Lasneski, Ralph Staffieri, Jessica Holguin, Danielle DiFonzo, Glenn
             Kahn, Gerald Keaton, John McAffry, Charles Platt, John Thomas, II, Lauren
             Roberts, Karen Coppedge, Allison Swank, Kevin Donnelly, Harold Lott,
             Cynthia Kelley, Mary Wicklund, David Klemer, Nadine Foster, Cynthia
             Reichrath, Wanda Pratt, Brent Harris, Steven Quinnette, Darrell Hunter,
             Cheryl Grissom, Melinda Lambert, Amy Whittaker, Shantel and Rahman
             Jones, Jason Jenkins, Kelli Smith (on her own behalf and on behalf of her
             three minor children), Dianne Reistroffer, Christopher Ruberg, Frank Bailey,
             Jason Baker, Meredith Fisse, Robin Wilkey, Gary Bellegarde, Mark Hatcher,
             Don West, Denese Depeza, Claudia Cass, Robert Roy, Carrie Ramos, Lisa
             Daniels, Michelle Kaseta-Collins, Lyle Nichols, Hank Maurer, Jack
             Wenglewick, Charles McCullough, Debbie Stein, Melody Eads, Christopher
             Allen, Jill Noble, Cherri and Gregory Hawes, Christina Renkoski (previously
             Novak), Shawn Crane, Troy Hobbs, David Ifversen, Angelin Gonzalez,
             Joseph LeBrun, Brenda Harrington, Elizabeth Ames, Ronald Percy, Barbara
             Gold, Matthew Gates, Marne Onderdonk, Frank Pacilio, Valerie Brescia,
             Randy Polacsek, Francis Nicosia, Connie McDaniel, Rachel Calo, Nicholas
             Bowes, Martin Williams, Rosanne M. Stanley, Gregory Kremer, Denise
             Masloski, Alan Voll, Lakeysha Gant, Jonathan B. Pulcini, Patrick Kimbrell,
             William Ansah-Dawson, C. Wheelwright, Michael S. Weinberger, Vernon
             Davitte, Jennifer Mertlich, Simon Kaufman, Lisa Shiltz, Susan H. Jones, and
             Jennifer Rud.
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      1.39   “Settlement Fund” means One Hundred and Fifteen Million United States
             Dollars ($115,000,000) and any interest on or other income or gains earned
             while such amount is held in the Qualified Settlement Fund.

      1.40   “Settlement Website” means a website established by the Settlement
             Administrator to provide information about the Settlement and permit the
             submission of claims. At a minimum, the following information shall be
             posted on the Settlement Website: A redacted version of the Fourth Amended
             Complaint; this Settlement Agreement (but without the Business Practice
             Commitments set forth in Exhibit 2); Plaintiffs’ Motion for Preliminary
             Approval of Class Action Settlement; Class Notice; Claims Forms with the
             ability to electronically submit the Claims Form; and, after filing, Plaintiffs’
             Motion for Attorneys’ Fees and Costs and Service Payments, and Plaintiffs’
             Motion for Final Approval.

      1.41   “Subsidiaries” means with respect to any Entity, any corporation, limited
             liability company, partnership or other entity of which such Entity owns or
             controls, directly or indirectly, at least a majority of the securities or other
             interests that have by their terms ordinary voting power to elect a majority of
             the board of directors or others performing similar functions with respect to
             such corporation, limited liability company, partnership or other entity.

      1.42   “Successor,” means, with respect to a natural person, that person’s heir, and,
             with respect to an Entity, any other Entity that through merger, buyout, or
             any other means, acquires all of that Entity’s duties, rights, obligations,
             shares, debts, or assets.

      1.43   “Taxes” means (i) any and all applicable taxes, duties and similar charges
             imposed by a government authority (including any estimated taxes, interest
             or penalties) arising in any jurisdiction, if any, with respect to the income or
             gains earned by or in respect of the Settlement Fund, including, without
             limitation, any taxes that may be imposed upon Defendants or their counsel
             with respect to any income or gains earned by or in respect of the Settlement
             Fund for any period while it is held in the Qualified Settlement Fund; (ii) any
             other taxes, duties and similar charges imposed by a government authority
             (including any estimated taxes, interest or penalties) relating to the
             Settlement Fund that the Settlement Administrator determines are or will
             become due and owing, if any; and (iii) any and all expenses, liabilities and
             costs incurred in connection with the taxation of the Settlement Fund
             (including without limitation, expenses of tax attorneys and accountants).

      1.44   “Unknown Claims” means any and all Released Claims that any Settlement
             Class Representative or Settlement Class Member does not know or suspect
             to exist in his or her favor as of the Effective Date and which, if known by
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                 him or her, might have affected his or her decision(s) with respect to the
                 Settlement. With respect to any and all Released Claims, the Parties stipulate
                 and agree that upon the Effective Date, Settlement Class Representatives and
                 Settlement Class Members shall have waived any and all provisions, rights,
                 and benefits conferred by any law of any state of the United States, or
                 principle of common law or otherwise, which is similar, comparable, or
                 equivalent to Cal. Civ. Code § 1542, which provides:

                    A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                    WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
                    TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                    EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                    OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                    HER SETTLEMENT WITH THE DEBTOR.

                 Settlement Class Representatives and Class Counsel acknowledge, and each
                 Settlement Class Member by operation of law shall be deemed to have
                 acknowledged, that the inclusion of “Unknown Claims” in the definition of
                 Released Claims was separately bargained for and was a key element of the
                 Settlement Agreement.

2.     BUSINESS PRACTICE COMMITMENTS

           2.1   Anthem shall adopt, pay for, implement, and/or maintain the business
                 practice commitments related to information security to safeguard Settlement
                 Class Members’ personally identifiable information as set forth in Exhibit 2,
                 attached hereto. To the extent permitted by the Court, Exhibit 2 shall be filed
                 under seal because it contains sensitive information about Anthem’s
                 cybersecurity practices that could harm Defendants and Settlement Class
                 Members if made public.

           2.2   Anthem shall maintain the business practice commitments set forth in Exhibit
                 2 for at least three (3) years from the date of entry of the Final Approval
                 Order and Judgment.

           2.3   Anthem shall engage the same independent consultant that it has already
                 engaged or will engage to conduct its annual SOC 2 Type 2 assessment to
                 verify that Anthem is in compliance with the business practice commitments
                 set forth in Exhibit 2.

           2.4   After the Effective Date, Anthem agrees to annually provide Plaintiffs a copy
                 of its SOC 2 Type 2 assessment, conducted by the same independent
                 consultant that it has already engaged or will engage, and a supplement
                 covering the additional items described in Exhibit 2, covering the period until

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                   three (3) years after the date of entry of the Final Approval Order and
                   Judgment.

             2.5   To the extent Plaintiffs believe that Anthem is not complying with its
                   business practice commitments set forth herein and in Exhibit 2 hereto,
                   Plaintiffs will first meet and confer with Anthem to discuss the situation
                   before seeking relief from the Court.

3.     SETTLEMENT FUND

       3.1     Defendants agree to make a settlement payment of one hundred and fifteen
               million United States Dollars ($115,000,000) and deposit that settlement payment
               into the Qualified Settlement Fund as follows: (i) Defendants shall deposit
               twenty-five million United States Dollars ($25,000,000) into the Qualified
               Settlement Fund ten (10) Business Days after the Court enters the Preliminary
               Approval Order to cover reasonable costs associated with the Notice Plan,
               Administrative Expenses incurred prior to entry of the Final Approval Order and
               Judgment, and set-up costs for the Credit Services vendor; and (ii) Defendants
               shall deposit the balance of the one hundred and fifteen million United States
               Dollars ($115,000,000) into the Qualified Settlement Fund ten (10) Business Days
               after the Court enters the Final Approval Order and Judgment.

             3.2   As further described in this Agreement, the Settlement Fund shall be used by
                   the Settlement Administrator to pay for:

                      (a) all reasonable Administrative Expenses;

                      (b) the Taxes described in Sections 3;

                      (c) Service Payments award by the Court, as described in Section 11;

                      (d) attorneys’ fees and costs approved by the Court, as described in
                          Section 12;

                      (e) Credit Services as described in Section 4;

                      (f) Alternative Compensation as described in Section 5;

                      (g) Out-of-Pocket Costs as described in Section 6.

             3.3   The Qualified Settlement Fund shall be an account established at a financial
                   institution approved by Class Counsel and Defendants and, pursuant to
                   Section 3.9, shall be maintained as a qualified settlement fund pursuant to
                   Treasury Regulation § 1.468B-1, et seq.


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      3.4   No amounts from the Settlement Fund may be withdrawn from the Qualified
            Settlement Fund unless (i) expressly authorized by the Settlement Agreement
            or (ii) approved by the Court. Class Counsel may authorize the payment of
            actual reasonable Administrative Expenses from the Settlement Fund without
            further order of the Court. The Settlement Administrator shall provide Class
            Counsel and Defendants with notice of any withdrawal or other payment the
            Settlement Administrator proposes to make from the Qualified Settlement
            Fund before the Effective Date at least five (5) Business Days prior to
            making such withdrawal or payment.

      3.5   The Settlement Administrator, subject to such supervision and direction of
            the Court and/or Class Counsel as may be necessary or as circumstances may
            require, shall administer and/or oversee distribution of the Settlement Fund to
            Settlement Class Members pursuant to this Agreement.

      3.6   The Settlement Administrator and Class Counsel are responsible for
            communicating with Settlement Class Members regarding the distribution of
            the Settlement Fund and amounts paid under the Settlement.

      3.7   All funds held in the Qualified Settlement Fund relating to the Settlement
            shall be deemed to be in the custody of the Court until such time as the funds
            shall be distributed to Settlement Class Members or otherwise disbursed
            pursuant to this Agreement and/or further order of the Court.

      3.8   Any funds in the Qualified Settlement Fund in excess of U.S. $250,000 shall
            be invested in short term United States Agency or Treasury Securities,
            repurchase agreements collateralized by such instruments, or a mutual fund
            invested solely in such instruments, and shall collect and reinvest all earnings
            accrued thereon. Any funds held in the Qualified Settlement Fund in an
            amount of less than U.S. $250,000 may be held in an interest-bearing account
            insured by the Federal Deposit Insurance Corporation (“FDIC”) or may be
            invested as funds in excess of U.S. $250,000 are invested. Funds may be
            placed in a non-interest bearing account as may be reasonably necessary
            during the check clearing process.

      3.9   The Parties agree that the Settlement Fund is intended to be a maintained as a
            qualified settlement fund within the meaning of Treasury Regulation §
            1.468B-1, and that the Settlement Administrator, within the meaning of
            Treasury Regulation § 1.468B-2(k)(3), shall be responsible for filing tax
            returns and any other tax reporting for or in respect of the Settlement Fund
            and paying from the Settlement Fund any Taxes owed with respect to the
            Settlement Fund. The Parties agree that the Settlement Fund shall be treated
            as a qualified settlement fund from the earliest date possible, and agree to any
            relation-back election required to treat the Settlement Fund as a qualified
            settlement fund from the earliest date possible.
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      3.10   All Taxes relating to the Settlement Fund shall be paid out of the Settlement
             Fund, shall be considered to be a cost of administration of the Settlement,
             and shall be timely paid by the Settlement Administrator without prior order
             of the Court. Further, the Settlement Fund shall indemnify and hold harmless
             the Parties and their counsel for Taxes (including, without limitation, taxes
             payable by reason of any such indemnification payments).

      3.11   The Parties and their respective counsel have made no representation or
             warranty with respect to the tax treatment by any Settlement Class
             Representative or any Settlement Class Member of any payment or transfer
             made pursuant to this Agreement or derived from or made pursuant to the
             Settlement Fund.

      3.12   Each Settlement Class Representative and Settlement Class Member shall be
             solely responsible for the federal, state and local tax consequences to him,
             her or it of the receipt of funds from the Settlement Fund pursuant to this
             Agreement.

      3.13   The Defendants and their counsel shall not have any responsibility for or
             liability whatsoever with respect to (i) any act, omission or determination of
             Class Counsel, the Settlement Administrator, or any of their respective
             designees or agents, in connection with the administration of the Settlement
             or otherwise; (ii) the management, investment or distribution of the
             Settlement Fund; (iii) the formulation, design or terms of the disbursement of
             the Settlement Fund; (iv) the determination, administration, calculation or
             payment of any claims asserted against the Settlement Fund; (v) any losses
             suffered by, or fluctuations in the value of the Settlement Fund; or (vi) the
             payment or withholding of any Taxes, expenses and/or costs incurred in
             connection with the taxation of the Settlement Fund or the filing of any
             returns. Defendants also shall have no obligation to communicate with Class
             Members and others regarding amounts paid under the Settlement.

      3.14   The Settlement Class Representatives and Class Counsel shall not have any
             liability whatsoever with respect to (i) any act, omission or determination of
             the Settlement Administrator, or any of their respective designees or agents,
             in connection with the administration of the Settlement or otherwise; (ii) the
             management, investment or distribution of the Settlement Fund; (iii) the
             formulation, design or terms of the disbursement of the Settlement Fund; (iv)
             the determination, administration, calculation or payment of any claims
             asserted against the Settlement Fund; (v) any losses suffered by, or
             fluctuations in the value of the Settlement Fund; or (vi) the payment or
             withholding of any Taxes, expenses and/or costs incurred in connection with
             the taxation of the Settlement Fund or the filing of any returns.

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4.     CREDIT SERVICES

           4.1   Credit Services shall be provided by Experian. Experian will provide “3B
                 Credit Plus” Services to Settlement Class Members who claim Credit
                 Services and enroll with Experian, including:
                    Daily credit monitoring of the Settlement Class Members’ credit file at
                       all three (3) major credit reporting agencies (Experian, Equifax &
                       TransUnion);
                    An Experian (1B) Credit Report upon enrollment;
                    A subsequent, updated Experian (1B) Credit Report available at the
                       Settlement Class Members’ election as often as daily (online);
                    ID Theft Insurance, which covers certain identity theft related
                       expenses incurred by Settlement Class Members up to a limit of $1
                       million;
                    Internet Surveillance, which includes monitoring of the “dark web” for
                       Settlement Class Members’ personal information;
                    Identity Validation monitoring and alerts to notify Settlement Class
                       Members in the event their identity has been verified across the
                       Experian identity network.
                    Identity Restoration Services that provide professional fraud resolution
                       assistance to Settlement Class Members who experience identity theft
                       or fraud, helping them with identity recovery and restoration.
                    Minor Plus will be provided to Settlement Class Members who are
                       minors, including Social Security Number Trace, Internet
                       Surveillance, Identity Restoration, and ID Theft Insurance.

           4.2   The long form Notice shall describe generally the nature of the Credit
                 Services and will be posted on the Settlement Website pursuant to Section
                 1.40 of this Settlement Agreement, and described on the website or web page
                 of Experian pursuant to Section 4.5, below.

           4.3   For a period of no later than ninety (90) days after the Notice Date,
                 Settlement Class Members may submit to the Settlement Administrator a
                 Claim Form selecting Credit Services in a manner consistent with the Claim
                 Form and Notice, provided they have not submitted a Claim Form selecting
                 Alternative Compensation. The Settlement Administrator shall review all
                 claims for Credit Services to validate that each Credit Services claimant (i) is
                 a Settlement Class Member and (ii) has not claimed Alternative
                 Compensation. Ambiguities or deficiencies on the face of the Claim Form
                 shall be resolved by the Settlement Administrator. To the extent there is any
                 ambiguity with respect to a Settlement Class Member’s election of Credit
                 Services or Alternative Compensation, and the Settlement Administrator
                 cannot resolve the ambiguity, the ambiguous Claim Form shall default to
                 Credit Services. For deficiencies, the Settlement Administrator shall ask the

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            Settlement Class Member to cure the deficiency, and in doing so, may use its
            discretion to determine the most efficient and effective means of
            communicating with the Settlement Class Member, whether by email,
            telephone, or mail. Disputes with respect to Claim Forms shall be resolved
            by the Settlement Administrator.

      4.4   Pursuant to Section 10 below, the Settlement Administrator shall send to
            each valid Credit Services claimant, via email, or for claimants with no email
            address by U.S. Mail, an activation code to be used to activate Credit
            Services via the website of Experian. Valid Credit Services claimants may
            activate Credit Services for a period of one (1) year from the date the
            Settlement Administrator sends the activation code. Experian shall provide
            Credit Services to all valid Credit Services claimants who timely activate
            those services.

      4.5   On or before the Notice Date, Experian shall establish a dedicated website or
            web page which provides instructions on how to submit a Credit Services
            claim and the activation processes, and sets forth a general description of the
            nature of the Credit Services to be provided as part of this Settlement.

      4.6   The Settlement Administrator shall within five (5) Business Days after the
            Effective Date pay Experian the amount of $17,000,000 from the Settlement
            Fund for providing Credit Services pursuant to the agreement with Experian.

      4.7   Credit Services shall be provided for a period of at least two (2) years starting
            from the later of (i) the date a Settlement Class Member enrolls for Credit
            Services or (ii) the date that is five (5) Business Days after the Effective
            Date.

      4.8   In accordance with Section 7.1 below, if there are funds remaining in the
            Settlement Fund after all valid claims, expenses, and costs have been paid or
            reserved for, the Settlement Administrator shall use the remaining funds to
            pay Experian to extend Credit Services in one month increments, for up to
            two additional years. In that event, Experian shall notify Settlement Class
            Members who have submitted valid claims for Credit Services that the credit
            monitoring period has been extended and for how long Credit Services will
            be provided.

      4.9   Experian shall also offer Identity Restoration Services to all Settlement Class
            Members (whether or not they claim Credit Services, Alternative
            Compensation, or neither), for a period of two (2) years from the Effective
            Date, and longer, should Credit Services be continued pursuant to Section
            4.8. Identity Restoration Services provide for professional fraud resolution
            assistance by a dedicated, U.S.-based Fraud Resolution Agent, who assists

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                 Settlement Class Members who experience identity theft or fraud with the
                 steps to identity recovery and restoration.

5.     ALTERNATIVE COMPENSATION

           5.1   Settlement Class Members who (i) already have some form of credit
                 monitoring or protection and (ii) do not enroll in the Credit Services available
                 under this Settlement Agreement may request Alternative Compensation by
                 submitting a Claim Form selecting Alternative Compensation to the
                 Settlement Administrator no later than 90 days after the Notice Date. To be
                 eligible to receive Alternative Compensation, the Settlement Class Member
                 must, in the Claim Form, (i) state that he or she has some form of credit
                 monitoring or protection as of the date the Claim Form is submitted, (ii)
                 identify the credit monitoring or protection he or she has and approximately
                 when he or she enrolled, and (iii) not also elect to claim Credit Services on
                 the Claim Form.

           5.2   The Settlement Administrator shall verify that each person who submits a
                 Claim Form selecting Alternative Compensation (i) is a Settlement Class
                 Member, (ii) has not claimed Credit Services available under this Settlement
                 Agreement, (iii) has stated in the Claim Form that he or she has some form of
                 credit monitoring or protection as of the date the Claim Form is submitted
                 and the approximate date when he or she enrolled, and (iv) has identified in
                 the Claim Form the credit monitoring or protection he or she has, but shall
                 not otherwise validate the statements in the Claim Form. Each Claim Form
                 that meets these requirements shall be deemed a valid claim for Alternative
                 Compensation. No Settlement Class Member may have more than one valid
                 Claim Form for Alternative Compensation. Ambiguities or deficiencies on
                 the face of the Claim Form shall be resolved by the Settlement
                 Administrator. To the extent there is any ambiguity with respect to a
                 Settlement Class Member’s election of Credit Services or Alternative
                 Compensation, and the Settlement Administrator cannot resolve the
                 ambiguity, the ambiguous Claim Form shall default to Credit Services. For
                 other deficiencies, the Settlement Administrator shall ask the Settlement
                 Class Member to cure the deficiency, and in doing so, may use its discretion
                 to determine the most efficient and effective means of communicating with
                 the Settlement Class Member, whether by email, telephone, or mail.
                 Disputes with respect to any Claim Form shall be resolved by the Settlement
                 Administrator.

           5.3   Pursuant to Section 10 below, each Settlement Class Member who submits a
                 valid Claim Form selecting Alternative Compensation shall receive a
                 payment equal to the lesser of (i) $36.00 or (ii) the amount equal to the Net
                 Settlement Fund divided by the number of valid Claim Forms selecting
                 Alternative Compensation; provided, however, that if the aggregate amount
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                 of claims for Alternative Compensation is less than $13,000,000, then the
                 amount paid per claim shall increase pro rata until the amount per claim is
                 equal to $50 or the aggregate sum of Alternative Compensation claims paid
                 is $13,000,000, whichever is less.


6.     OUT-OF-POCKET COSTS

           6.1   Settlement Class Members who have Out-of-Pocket Costs may request
                 payment of their Out-of-Pocket Costs by submitting an Out-of-Pocket Costs
                 Claim Form (either in paper form or on the Settlement Website) to the
                 Settlement Administrator accompanied by an attestation regarding the Out-
                 of-Pocket Costs incurred, and documentation of Out-of-Pocket Costs as to
                 which documentation should naturally exist and have been retained or is
                 obtainable, as detailed on the Out-of-Pocket Costs Claims Form. Out-of-
                 Pocket Costs Claim Forms may be submitted at any time on or before the
                 date that is one (1) year after entry of the Final Approval Order and
                 Judgment.

           6.2   The Settlement Administrator shall verify that each person who submits an
                 Out-of-Pocket Costs Claim Form is a Settlement Class Member and shall
                 have the sole discretion and authority to determine whether and to what
                 extent an Out-of-Pocket Costs Claim Form reflects valid Out-of-Pocket Costs
                 actually incurred that are fairly traceable to the Data Breach. To the extent
                 the Settlement Administrator determines a claim for Out-of-Pocket Costs is
                 deficient, within ten (10) days of making such a determination, the
                 Settlement Administrator shall notify the Settlement Class Member of the
                 deficiencies and give the Settlement Class Member thirty (30) days to cure
                 the deficiencies. The Settlement Administrator shall have the sole discretion
                 and authority to determine whether the Settlement Class Member has cured
                 the deficient claim such that it reflects valid Out-of-Pocket Costs actually
                 incurred that are fairly traceable to the Data Breach.

           6.3   Out-of-Pocket Costs for preventative measures, such as obtaining credit
                 monitoring services or credit freezes, shall be deemed fairly traceable to the
                 Data Breach if they were incurred in February 2015 or thereafter and the
                 Settlement Class Member states that they were incurred in response to the
                 Data Breach. Out-of-Pocket Costs for unreimbursed losses related to identity
                 theft, falsified tax returns, or other alleged wrongdoing (collectively
                 “Misconduct”), or for attempting to remedy Misconduct, shall be deemed
                 fairly traceable to the Data Breach if (i) the Misconduct occurred in February
                 2015 or thereafter, (ii) the Settlement Class Member states that he or she
                 believes the Misconduct is connected to the Data Breach, and (iii) the
                 Misconduct involved possible mis-use of the type of Personal Information
                 accessed in the Data Breach (i.e., name, address, date of birth, Social
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                 Security Number, email address, telephone number, employment
                 information, and/or health care member identification number).

           6.4   The Settlement Administrator shall reserve $15 million from the Settlement
                 Fund to pay valid Out-of-Pocket Costs and shall not pay more than that
                 amount in the aggregate for valid Out-of-Pocket Costs. Valid Out-of-
                 Pocket Costs shall be determined and paid as soon as practicable after the
                 Effective Date. Each Settlement Class Member who submits an Out-of-
                 Pocket Costs Claim Form for valid Out-of-Pocket Costs shall receive a
                 payment equal to the lesser of (i) the amount of the Settlement Class
                 Member’s valid Out-of-Pocket Costs or (ii) $10,000.00; provided, however,
                 that if the amount of valid claims submitted on or before the Effective Date
                 exceeds $15 million, all such claims shall be subject to a pro rata reduction.
                 After the Effective Date, the Settlement Administrator shall process and pay
                 Out-of-Pocket Costs Claim Forms in the order in which they are received,
                 provided that the Settlement Administrator shall cease processing and paying
                 Out-of-Pocket Costs Claim Forms once it has paid $15 million of valid Out-
                 of-Pocket Costs in the aggregate. If the Settlement Administrator has paid
                 $15 million of valid Out-of-Pocket Costs in the aggregate, it shall update the
                 Settlement Website to reflect that Out-of-Pocket Costs Claim Forms will no
                 longer be processed and paid.

7.     RESIDUE OF SETTLEMENT FUND

           7.1   No portion of the Settlement Fund shall revert or be repaid to Defendants
                 after the Effective Date. Any residual funds remaining in the Settlement
                 Fund after all the payments, expenses, and costs identified in Sections 1.2,
                 3.10, 4.6, 5.3, 6.4, 10.3, 11.2, and 12.2 have been paid or reserved for shall
                 be used to extend the Credit Services beyond the original termination date for
                 as long as possible, but in no instance by less than one month. To the extent
                 the residual funds are insufficient to extend the Credit Services by at least
                 one month or there are residual funds remaining once Credit Services have
                 been extended, such remaining funds shall be subject to a cy pres distribution
                 to the Center for Education and Research in Information Assurance Security
                 at Purdue University and the Electronic Frontier Foundation, to be divided
                 equally between them.

8.     PRELIMINARY APPROVAL

           8.1   Promptly upon the execution of this Agreement, Settlement Class
                 Representatives and Class Counsel will file a motion for preliminary
                 approval of the Settlement with the Court. Contemporaneously with or as
                 part of that motion, Settlement Class Representatives and Class Counsel will
                 move for certification of the Settlement Class pursuant to Federal Rule of

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                 Civil Procedure 23(b)(3). Defendants reserve the right to contest any motion
                 to certify a class for any purpose other than settlement of the Actions.

           8.2   Class Counsel shall apply to the Court for entry of the Preliminary Approval
                 Order attached hereto as Exhibit 3. The Preliminary Approval Order shall
                 include approval of the form of notice provided to Settlement Class
                 Members.

9.     CLASS NOTICE, OPT-OUTS, AND OBJECTIONS

           9.1   Notice shall not be distributed or disseminated until after the Court enters the
                 Preliminary Approval Order.

           9.2   The Settlement Administrator is responsible for distributing and
                 disseminating the Notice in accordance with the Notice Plan, Exhibit 4
                 hereto.

           9.3   Defendants shall provide the Settlement Administrator with the names, last
                 known mailing address, and last known e-mail addresses of Settlement Class
                 Members, to the extent reasonably available, no later than five (5) business
                 days after the date on which the Court enters the Preliminary Approval
                 Order. To the extent that Anthem has reasonably available names or other
                 identifying information about Settlement Class Members, but not mailing or
                 email addresses, those names and other identifying information shall also be
                 provided to the Settlement Administrator for use in verifying the identity of
                 Settlement Class Members to whom a mailed notice is not sent, but who
                 respond to publication notice.

           9.4   Class Counsel shall provide the Settlement Administrator with the names,
                 last known mailing address, and last known email addresses of Settlement
                 Class Representatives and any other putative class member who has reported
                 updated address information to Class Counsel, no later than five (5) Business
                 Days after the date on which the Court enters the Preliminary Approval
                 Order.

           9.5   The Notice shall explain the procedure for Settlement Class Members to opt-
                 out and exclude themselves from the Settlement Class by notifying the
                 Settlement Administrator in writing, postmarked no later than sixty (60)
                 calendar days after the Notice Date. Each written request for exclusion must
                 set forth the name of the individual seeking exclusion and can only request
                 exclusion for that one individual.

           9.6   The Notice shall explain the procedure for Settlement Class Members to
                 object to the Settlement by submitting written objections to the Court no later
                 than sixty (60) calendar days after the Notice Date. The written objection
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                   must include the objector’s name, address, personal signature, a statement of
                   grounds for the objection, a statement indicating the basis for the Objector’s
                   belief that he or she is a member of the Settlement Class (to the extent the
                   Objector did not receive Class Notice), a statement identifying the number of
                   class action settlements objected to by the Settlement Class member in the
                   last three years, a statement whether the objector intends to appear at the
                   Final Fairness Hearing, either in person or through counsel, and if through
                   counsel, identifying counsel by name, address, and telephone number. In
                   addition to the foregoing, if the Settlement Class Member is represented by
                   counsel and such counsel intends to speak at the Final Fairness Hearing, the
                   written objection must include a detailed statement of the specific legal and
                   factual basis for each and every objection and a detailed description of any
                   and all evidence the objecting Settlement Class Member may offer at the
                   Final Fairness Hearing, including copies of any and all exhibits that the
                   objecting Class member may introduce at the Final Fairness Hearing. The
                   Notice will also state that any Settlement Class Member who does not file a
                   timely and adequate notice of intent in accordance with this Section waives
                   the right to object or to be heard at the Final Fairness Hearing and shall be
                   forever barred from making any objection to the Settlement.

            9.7    Anthem will serve the notice required by the Class Action Fairness Act of
                   2005, 28 U.S.C. § 1715, no later than ten days after this Agreement is filed
                   with the Court.

10.     DUTIES OF SETTLEMENT ADMINISTRATOR

            10.1   The Settlement Administrator shall perform the functions as are specified in
                   this Agreement and its Exhibits, including, but not limited to, overseeing
                   administration of the Settlement Fund; providing Notice to Settlement Class
                   Members via U.S. mail and email; effecting publication Notice and a media
                   plan; establishing and operating the Settlement Website and a toll-free
                   number; administering the claims processes; and distributing Credit Services,
                   Alternative Compensation, and Out-Of-Pocket Costs according to the
                   processes and criteria set forth herein.

            10.2   The duties of the Settlement Administrator, in addition to other
                   responsibilities that are described in this Agreement and attached hereto as
                   Exhibit 4, include:

                     a. Obtaining from Defendants, pursuant to Section 9.3, the names, last
                        known mailing addresses, and last known e-mail addresses, to the
                        extent reasonably available, of Settlement Class Members for the
                        purpose of sending Notice to Settlement Class Members;



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             b. Obtaining updated addresses for Settlement Class Members through
                the National Change of Address operated by the United States Postal
                Service;

             c. Obtaining from Anthem, pursuant to Section 9.3, information to the
                extent reasonably available, necessary to establish a reasonably
                practical procedure to verify Settlement Class Members;

             d. Effecting the Notice Plan in accordance with the procedures set forth
                in Section 9;

             e. Establishing and maintaining a post office box for mailed written
                notifications of exclusion from the Settlement Class;

             f. Establishing and maintaining the Settlement Website that, among other
                things, allows Class Members to submit claims electronically;

             g. Establishing and maintaining a toll-free telephone line for Settlement
                Class Members to call with Settlement-related inquiries, and
                answering the questions of Settlement Class Members who call with or
                otherwise communicate such inquiries;

             h. Responding to any mailed or emailed Settlement Class Member
                inquiries;

             i. Processing all written notifications of exclusion from the Settlement
                Class;

             j. Providing weekly reports and, no later than ten (10) days after the
                deadline for Settlement Class Members to exclude themselves from
                the Settlement, provide a final report to Class Counsel and
                Defendants’ counsel that summarizes the number of written
                notifications of exclusion received that week, the total number of
                written notifications of exclusion received to date, and other pertinent
                information as requested by Class Counsel and Defendants’ counsel;

             k. In advance of the Final Fairness Hearing, preparing affidavits to
                submit to the Court that: (i) attest to implementation of the Notice Plan
                in accordance with the Preliminary Approval Order; and (ii) identify
                each Settlement Class Member who timely and properly provided
                written notification of exclusion from the Settlement Class;




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                     l. Reviewing, determining the validity of, and processing all claims
                        submitted by Settlement Class Members, pursuant to criteria set forth
                        in Sections 4, 5, and 6;

                     m. Pursuant to Sections 4 and 5 hereto, within thirty (30) days after the
                        Effective Date, provide activation instructions or monetary payment,
                        either electronically or by U.S. Mail, to Settlement Class Members for
                        (i) Credit Services or (ii) Alternative Compensation;

                     n. Pursuant to Section 6 herein, within sixty (60) days after entry of the
                        Final Approval Order and Judgment or thirty (30) days after the
                        Effective Date, whichever is later, and as soon as practicable thereafter
                        on a rolling basis as claims are received, provide monetary payment,
                        either electronically or by U.S. Mail, to Settlement Class Members for
                        Out-of-Pocket Costs;

                     o. Providing weekly reports and a final report to Class Counsel and
                        Defendants’ counsel that summarize the number of claims since the
                        prior reporting period, the total number of claims received to date, the
                        number of any claims approved and denied since the prior reporting
                        period, the total number of claims approved and denied to date, and
                        other pertinent information as requested by Class Counsel and
                        Defendants’ counsel; and

                     p. Performing any function related to Settlement administration at the
                        agreed-upon instruction of both Class Counsel and Defendants’
                        counsel, including, but not limited to, verifying that cash payments
                        have been distributed in accordance with Sections 4, 5, and 6.

            10.3   All costs incurred by the Settlement Administrator shall be borne by and paid
                   by the Settlement Fund.

11.     SERVICE PAYMENTS

            11.1   Settlement Class Representatives and Class Counsel may seek awards of
                   Service Payments to the Settlement Class Representatives. Any requests for
                   such awards must be filed at least 21 days before the deadline for filing
                   objections to the Settlement. Defendants agree not to oppose requests for
                   such Service Payments to the extent they do not exceed $7,500 per
                   Settlement Class Representative whose computer was forensically imaged,
                   and $5,000 per remaining Settlement Class Representative.

            11.2   The Settlement Administrator shall pay the Service Payments approved by
                   the Court to the Settlement Class Representatives from the Settlement Fund.
                   Such Service Payments shall be paid in the amount approved by the Court
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                   five (5) Business Days after Defendants give the Settlement Administrator
                   written notice (with a copy to Plaintiffs) that the Effective Date has occurred.
                   Defendants shall give the Settlement Administrator written notice that the
                   Effective Date has occurred within three (3) Business Days of the Effective
                   Date occurring.

            11.3   In the event the Court declines to approve, in whole or in part, the payment
                   of the Service Awards in the amounts requested, the remaining provisions of
                   this Agreement shall remain in full force and effect. No decision by the
                   Court, or modification or reversal or appeal of any decision by the Court,
                   concerning the amount of Service Awards shall constitute grounds for
                   cancellation or termination of this Agreement.

12.     ATTORNEYS’ FEES AND COSTS

            12.1   Class Counsel may file a motion for an award of attorneys’ fees and costs to
                   be paid from the Settlement Fund. The motion must be filed at least 21 days
                   before the deadline for filing objections to the Settlement. Defendants agree
                   not to oppose a request for an award of attorneys’ fees and costs that does not
                   exceed 33% of the Settlement Fund ($37,950,000) in attorneys’ fees plus
                   reimbursement of actual costs not to exceed $3,000,000.

            12.2   The Settlement Administrator shall pay the attorneys’ fees and costs awarded
                   by the Court to Class Counsel from the Settlement Fund. Such attorneys’
                   fees and costs shall be paid in the amount approved by the Court five (5)
                   Business Days after Defendants give the Settlement Administrator written
                   notice (with a copy to Plaintiffs) that the Effective Date has occurred;
                   provided, however, that such attorneys’ fees and costs may be paid after
                   entry of the Final Approval Order and Judgment and before the Effective
                   Date upon Class Counsel’s execution of an agreement approved by
                   Defendants, such approval not to be unreasonably withheld, pursuant to
                   which Class Counsel agree to be jointly and severally obligated to repay the
                   attorneys’ fees and costs, plus interest at the rate earned by the Settlement
                   Fund, to Defendants if the Effective Date does not occur. Such agreement
                   shall provide that repayment shall be made within ten (10) Business Days of
                   Class Counsel receiving written notice that Defendants are terminating the
                   Settlement Agreement because the Effective Date has not occurred. Each
                   Class Counsel’s law firm shall agree in any such agreement that the law firm
                   and its partners and/or shareholders are subject to the jurisdiction of this
                   Court for the purpose of enforcing the provisions of such agreement.

            12.3   Defendants shall have no responsibility for, interest in, or liability
                   whatsoever with respect to any payment or allocation of attorneys’ fees and
                   costs to Class Counsel under this Agreement.

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            12.4   The finality or effectiveness of the Settlement will not be dependent on the
                   Court awarding Class Counsel any particular amount of attorneys’ fees
                   and/or costs. In the event the Court declines to approve, in whole or in part,
                   the payment of the Attorneys’ fees and/or costs in the amounts requested, the
                   remaining provisions of this Agreement shall remain in full force and effect.
                   No decision by the Court, or modification or reversal or appeal of any
                   decision by the Court, concerning the amount of Attorneys’ fees and/or costs
                   shall constitute grounds for cancellation or termination of this Agreement.

13.     RELEASE

            13.1   As of the Effective Date, all Settlement Class Representatives and all
                   Settlement Class Members absolutely and unconditionally release and
                   discharge any and all Released Claims against each and every Defendant,
                   their current, former, and future Affiliates, Parents, and Subsidiaries, and
                   every other person or entity.

            13.2   The Parties understand that if the facts upon which this Agreement is based
                   are found hereafter to be different from the facts now believed to be true,
                   each Party expressly assumes that risk of such possible difference in facts,
                   and agrees that this Agreement shall remain effective notwithstanding such
                   difference in facts. The Parties agree that in entering this Agreement, it is
                   understood and agreed that each Party relies wholly upon its own judgment,
                   belief, and knowledge and that each Party does not rely on inducements,
                   promises or representations made by anyone other than those embodied
                   herein.

            13.3   Notwithstanding any other provision of this Agreement (including, without
                   limitation, this Section), nothing in this Agreement shall be deemed to in any
                   way impair, limit, or preclude the Parties’ rights to enforce any provision of
                   this Agreement, or any court order implementing this Agreement, in a
                   manner consistent with the terms of this Agreement.

14.     EFFECTIVE DATE AND TERMINATION

            14.1   The Effective Date of the Settlement shall be the first Business Day after all
                   of the following conditions have occurred:

                     (a) Defendants and Class Counsel execute this Settlement Agreement;

                     (b) The Court enters the Preliminary Approval Order, without material
                         change to the Parties’ agreed-upon proposed preliminary approval
                         order attached hereto as Exhibit 3;



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               (c) Notice is provided to the Settlement Class consistent with the
                   Preliminary Approval Order;

               (d) The Court enters the Final Approval Order and Judgment, without
                   material change to the Parties’ agreed-upon proposed final approval
                   order and judgment attached hereto as Exhibit 8; and

               (e) The Final Approval Order and Judgment has become final because (i)
                   the time for appeal, petition, rehearing or other review has expired, or
                   (ii) if any appeal, petition, request for rehearing or other review has
                   been filed, the Final Approval Order and Judgment is affirmed without
                   material change or the appeal is dismissed or otherwise disposed of, no
                   other appeal, petition, rehearing or other review is pending, and the
                   time for further appeals, petitions, requests for rehearing or other
                   review has expired.

      14.2   In the event that the Court declines to enter the Preliminary Approval Order
             as specified in Section 14.1(b), declines to enter the Final Approval Order as
             specified in Section 14.1(d), or the Final Approval Order and Judgment does
             not become final as specified in Section 14.1(e), Defendants may at their sole
             discretion terminate this Agreement on five (5) Business Days written notice
             to Class Counsel. For avoidance of doubt, Defendants may not terminate the
             Agreement while an appeal from an order granting final approval is pending.

      14.3   Defendants also may at their sole discretion terminate this Agreement on five
             (5) Business Days written notice to Class Counsel if more than a specified
             number of individuals submit valid requests to exclude themselves from the
             Settlement Class, as agreed to by the Parties and submitted to the Court for in
             camera review.

      14.4   In the event the Agreement is terminated pursuant to Sections 14.2 or 14.3,
             the Settlement Administrator, within ten (10) Business Days of receiving
             written notification of such event from counsel for Defendants, shall pay to
             Defendants an amount equal to the Settlement Fund together with any
             interest or other income earned thereon, less (i) any Taxes paid or due with
             respect to such income, (ii) any reasonable Administrative Expenses actually
             incurred and paid or payable from the Settlement Fund as authorized in this
             Agreement, and (iii) any Attorneys’ Fees and Costs paid prior to termination
             pursuant to Section 12.2 (which shall be repaid to Defendants by Class
             Counsel as specified in the agreement referenced in Section 12.2).

      14.5   Except as otherwise provided herein, in the event the Settlement is
             terminated, the Parties to this Agreement, including Settlement Class
             Members, shall be deemed to have reverted to their respective status in the
             Actions immediately prior to the execution of this Agreement and, except as
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                   otherwise expressly provided, the Parties shall proceed in all respects as if
                   this Agreement and any related orders had not been entered. In addition, the
                   Parties agree that in the event the Settlement is terminated:

                     (a) any Court orders preliminarily or finally approving certification of the
                         Settlement Class and any other orders entered pursuant to the
                         Agreement shall be deemed null and void and vacated and shall not be
                         used in or cited by any person or entity in support of claims or
                         defenses or in support or in opposition to a class certification motion;

                     (b) this Agreement shall become null and void, and the fact of this
                         Settlement and that Defendants did not oppose certification of any
                         class under this Settlement, shall not be used or cited by any person or
                         entity, including in any contested proceeding relating to certification of
                         any proposed class.

15.     NO ADMISSION OF WRONGDOING

            15.1   This Agreement, whether or not consummated, any communications and
                   negotiations relating to this Agreement or the Settlement, and any
                   proceedings taken pursuant to the Agreement:

                    (a) shall not be offered or received against any Defendant as evidence of
                        or construed as or deemed to be evidence of any presumption,
                        concession, or admission by any Defendant with respect to the truth of
                        any fact alleged by any Plaintiff or the validity of any claim that has
                        been or could have been asserted in the Actions or in any litigation, or
                        the deficiency of any defense that has been or could have been asserted
                        in the Actions or in any litigation, or of any liability, negligence, fault,
                        breach of duty, or wrongdoing of any Defendant;

                     (b) shall not be offered or received against any Defendant as evidence of a
                         presumption, concession or admission of any fault, misrepresentation
                         or omission with respect to any statement or written document
                         approved or made by any Defendant;

                     (c) shall not be offered or received against any Defendant as evidence of a
                         presumption, concession or admission with respect to any liability,
                         negligence, fault, breach of duty, or wrongdoing, or in any way
                         referred to for any other reason as against any Defendant, in any other
                         civil, criminal or administrative action or proceeding, other than such
                         proceedings as may be necessary to effectuate the provisions of this
                         Agreement; provided, however, that if this Agreement is approved by
                         the Court, the Parties may refer to it to effectuate the liability
                         protection granted them hereunder;
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                     (d) shall not be construed against any Defendant as an admission or
                         concession that the consideration to be given hereunder represents the
                         amount that could be or would have been recovered after trial; and

                     (e) shall not be construed as or received in evidence as an admission,
                         concession or presumption against any Settlement Class
                         Representative or any Settlement Class Member that any of their
                         claims are without merit, or that any defenses asserted by any
                         Defendants have any merit, or that damages recoverable under the
                         Actions would not have exceeded the Settlement Fund.

16.     REPRESENTATIONS

            16.1   Each Party represents that (i) such Party has full legal right, power and
                   authority to enter into and perform this Agreement, subject to Court
                   approval, (ii) the execution and delivery of this Agreement by such Party and
                   the consummation by such Party of the transactions contemplated by this
                   Agreement have been duly authorized by such Party, (iii) this Agreement
                   constitutes a valid, binding and enforceable agreement, and (iv) no consent or
                   approval of any person or entity is necessary for such Party to enter into this
                   Agreement.

17.     NOTICE

            17.1   All notices to Class Counsel provided for in this Agreement shall be sent by
                   e-mail and First Class mail to the following:

                     Eve Cervantez
                     Altshuler Berzon LLP
                     177 Post Street, Suite 300
                     San Francisco, CA 94108
                     ecervantez@altshulerberzon.com

                     Andrew N. Friedman
                     Cohen Milstein Sellers & Toll PLLC
                     1100 New York Avenue, NW
                     Suite 500, West Tower
                     Washington, DC
                     afriedman@cohenmilstein.com

            17.2   All notices to Defendants or counsel to Defendants provided for in this
                   Agreement shall be sent by e-mail and First Class mail to the following:


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                     Craig A. Hoover
                     E. Desmond Hogan
                     Peter R. Bisio
                     Hogan Lovells US LLP
                     555 Thirteenth Street, NW
                     Washington, DC 20004-1109
                     craig.hoover@hoganlovells.com
                     desmond.hogan@hoganlovells.com
                     peter.bisio@hoganlovells.com

                     Chad R. Fuller
                     Troutman Sanders LLP
                     11682 El Camino Real, Suite 400
                     San Diego, CA 92130
                     chad.fuller@troutmansanders.com

                     John D. Martin
                     Lucile H. Cohen
                     Nelson Mullins Riley & Scarborough LLP
                     1320 Main Street, 17th Floor
                     Columbia, SC 29201
                     john.martin@nelsonmullins.com
                     lucie.cohen@nelsonmullins.com

                     Brian Kavanaugh
                     Kirkland & Ellis LLP
                     300 N. LaSalle
                     Chicago, IL 60654
                     brian.kavanaugh@kirkland.com

            17.3   All notices to the Settlement Administrator provided for in this Agreement
                   shall be sent by e-mail and First Class mail to the following:

                     Kurtzman Carson Consultants LLC
                     2335 Alaska Ave.
                     El Segundo, CA 90245

            17.4   The notice recipients and addresses designated in this Section may be
                   changed by written notice.

18.     MISCELLANEOUS PROVISIONS

            18.1   Further Steps. The Parties agree that they each shall undertake any required
                   steps to effectuate the purposes and intent of this Agreement.

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      18.2   Representation by Counsel. The Settlement Class Representatives and
             Defendants represent and warrant that they have been represented by, and
             have consulted with, the counsel of their choice regarding the provisions,
             obligations, rights, risks, and legal effects of this Agreement and have been
             given the opportunity to review independently this Agreement with such
             legal counsel and agree to the particular language of the provisions herein.

      18.3   Contractual Agreement. The Parties understand and agree that all terms of
             this Agreement, including the Exhibits thereto, are contractual and are not a
             mere recital, and each signatory warrants that he or she is competent and
             possesses the full and complete authority to execute and covenant to this
             Agreement on behalf of the Party that he or she represents.

      18.4   Integration. This Agreement constitutes the entire agreement among the
             Parties and no representations, warranties or inducements have been made to
             any Party concerning this Settlement Agreement other than the
             representations, warranties and covenants contained and memorialized
             herein.

      18.5   Drafting. The Parties agree that no single Party shall be deemed to have
             drafted this Settlement Agreement, or any portion thereof, for purpose of the
             invocation of the doctrine of contra proferentum. This Settlement Agreement
             is a collaborative effort of the Parties and their attorneys.

      18.6   Modification or Amendment. This Agreement may not be modified or
             amended, nor may any of its provisions be waived, except by a writing
             signed by the Persons who executed this Agreement or their successors-in-
             interest.

      18.7   Waiver. The failure of a Party hereto to insist upon strict performance of any
             provision of this Agreement shall not be deemed a waiver of such Party’s
             rights or remedies or a waiver by such Party of any default by another Party
             in the performance or compliance of any of the terms of this Agreement. In
             addition, the waiver by one Party of any breach of this Agreement by any
             other Party shall not be deemed a waiver of any other prior or subsequent
             breach of this Agreement.

      18.8   Severability. Should any part, term or provision of this Agreement be
             declared or determined by any court or tribunal to be illegal or invalid, the
             Parties agree that the Court may modify such provision to the extent
             necessary to make it valid, legal and enforceable. In any event, such
             provision shall be separable and shall not limit or affect the validity, legality
             or enforceability of any other provision hereunder.



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      18.9   Successors. This Settlement Agreement shall be binding upon and inure to
             the benefit of the heirs, successors and assigns of the Parties thereto.

      18.10 Survival. The Parties agree that the terms set forth in this Agreement shall
            survive the signing of this Agreement.

      18.11 Governing Law. All terms and conditions of this Settlement Agreement shall
            be governed by and interpreted according to the laws of the State of Indiana,
            without reference to its conflict of law provisions, except to the extent the
            federal law of the United States requires that federal law governs.

      18.12 Interpretation.
              (a) Definitions apply to the singular and plural forms of each term
                   defined.
              (b) Definitions apply to the masculine, feminine, and neuter genders of
                   each term defined.
              (c) Whenever the words “include,” “includes” or “including” are used in
                   this Agreement, they shall not be limiting but rather shall be deemed to
                   be followed by the words “without limitation.”

      18.13 No Precedential Value. The Parties agree and acknowledge that this
            Agreement carries no precedential value.

      18.14 Fair & Reasonable. The Parties and their counsel believe this Agreement is a
            fair and reasonable compromise of the disputed claims, in the best interest of
            the Parties, and have arrived at this Agreement as a result of extensive arms-
            length negotiations.

      18.15 Retention of Jurisdiction. The administration and consummation of the
            Settlement as embodied in this Agreement shall be under the authority of the
            Court, and the Court shall retain jurisdiction over the Settlement and the
            Parties for the purpose of enforcing the terms of this Agreement.

      18.16 Headings. Any headings contained herein are for informational purposes
            only and do not constitute a substantive part of this Agreement. In the event
            of a dispute concerning the terms and conditions of this Agreement, the
            headings shall be disregarded.

      18.17 Exhibits. The Exhibits to this Agreement are expressly incorporated by
            reference and made part of the terms and conditions set forth herein.

      18.18 Counterparts. This Agreement may be executed in one or more counterparts.
            All executed counterparts and each of them shall be deemed to be one and
            the same instrument provided that counsel for the Parties to this Agreement
            shall exchange among themselves original signed counterparts.
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      18.19 Facsimile and Electronic Mail. Transmission of a signed Agreement by
            facsimile or electronic mail shall constitute receipt of an original signed
            Agreement by mail.

      18.20 No Assignment. Each Party represents and warrants that such Party has not
            assigned or otherwise transferred (via subrogation or otherwise) any right,
            title or interest in or to any of the Released Claims.

      18.21 Non-Disparagement. Settlement Class Representatives, Class Counsel,
            Defendants, and Defendants’ counsel agree not to make any statements,
            written or verbal, or to cause or encourage any other Person to make any
            statements, written or verbal, that defame, disparage or in any way criticize
            the personal or business reputation, practices, or conduct of the Parties and
            their respective counsel concerning all Released Claims, as well as the
            litigation of this Action, the Settlement, this Settlement Agreement, and any
            discussions, interactions, or negotiations of the Settlement by the Parties and
            their counsel. Settlement Class Representatives, Defendants, and their
            respective counsel may issue press releases in connection with the filing of
            the motion for preliminary approval of this Settlement. The Parties shall
            exchange drafts of any such proposed press releases 24 hours in advance of
            publication and provide the opposing Party with a meaningful opportunity to
            comment on the draft press releases.




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       IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly executed
by themselves or by their duly authorized counsel:


Anthem, Inc., on behalf of itself and Blue Cross and Blue Shield of Georgia, Inc.; Blue Cross
Blue Shield Healthcare Plan of Georgia, Inc.; Anthem Insurance Companies, Inc.; Blue Cross of
California; Anthem Blue Cross Life and Health Insurance Company; Rocky Mountain Hospital
and Medical Service, Inc.; Anthem Health Plans, Inc.; Anthem Health Plans of Kentucky, Inc.;
Anthem Health Plans of Maine, Inc.; HMO Missouri, Inc.; RightCHOICE Managed Care, Inc.;
Healthy Alliance Life Insurance Company; Anthem Health Plans of New Hampshire, Inc.;
Empire HealthChoice Assurance, Inc.; Community Insurance Company; Anthem Health Plans of
Virginia, Inc.; HealthKeepers, Inc.; Blue Cross Blue Shield of Wisconsin; Compcare Health
Services Insurance Corporation; Amerigroup Corporation; Amerigroup Services, Inc.;
Amerigroup Kansas, Inc.; Amerigroup Washington, Inc.; HealthLink, Inc.; UniCare Life &
Health Insurance Company; Caremore Health Plan; The Anthem Companies, Inc.; and The
Anthem Companies of California, Inc.

_______________________________________________
Name:
Title:
Date:


Blue Cross and Blue Shield of Alabama

__________________________________________________
Name:
Title:
Date:


USAble Mutual Insurance Company, d/b/a Arkansas Blue Cross and Blue Shield

__________________________________________________
Name:
Title:
Date:


California Physicians’ Service d/b/a Blue Shield of California

__________________________________________________
Name:
Title:
Date:
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Blue Cross Blue Shield of Florida, Inc. d/b/a Florida Blue

__________________________________________________
Name:
Title:
Date:


CareFirst of Maryland, Inc.

__________________________________________________
Name:
Title:
Date:


Blue Cross and Blue Shield of Massachusetts, Inc.

__________________________________________________
Name:
Title:
Date:


Blue Cross and Blue Shield of Michigan

__________________________________________________
Name:
Title:
Date:


BCBSM, Inc. d/b/a Blue Cross and Blue Shield of Minnesota

__________________________________________________
Name:
Title:
Date:


Horizon Healthcare Services, Inc.

__________________________________________________
Name:
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Title:
Date:



Blue Cross and Blue Shield of North Carolina

__________________________________________________
Name:
Title:
Date:


Highmark Inc. f/k/a Highmark Health Services

__________________________________________________
Name:
Title:
Date:


Blue Cross Blue Shield of Vermont

__________________________________________________
Name:
Title:
Date:


Health Care Service Corporation, a Mutual Legal Reserve Company

__________________________________________________
Name:
Title:
Date:


The Blue Cross and Blue Shield Association

__________________________________________________
Name:
Title:
Date:



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       TN WITNESS WHEREOF, the Parties have caused this Agreement to be duly executed
by themselves or by their duly authorized counsel:


Anthem, Inc., on behalf of itself and Blue Cross and Blue Shield of Georgia, Inc.; Blue Cross
Blue Shield Healthcare Plan of Georgia, Inc.; Anthem Insurance Companies, Inc.; Blue Cross of
California; Anthem Blue Cross Life and Health Insurance Company; Rocky Mountain Hospital
and Medical Service. Inc.; Anthem Health Plans. lnc.; Anthem Health Plans of Kentucky, lnc.;
Anthem Health Plans of Maine, lnc.; HMO Missouri, Inc.; RightCHOlCE Managed Care, Inc.;
Healthy Alliance Life Insurance Company; Anthem Health Plans of New Hampshire, Inc.;
Empire HealthCboice Assurance, Tnc.; Community Insurance Company; Anthem Health Plans of
Virginia, Inc.; Health.Keepers, Inc.; Blue Cross Blue Shield of Wisconsin; Compcare Health
Services Insurance Corporation; Amerigroup Corporation; Amerigroup Services, Inc.;
Amerigroup Kansas, Inc.; Healthl.ink, Inc.; UniCare Life & Health Insurance Company;
Caremore Health Plan; The Anthem Companies. Inc.; and The Anthem Companies of California,
Inc.


Name:
Title:
Date:


Blue Cross and Blue Shield of Alabama


Name:
Title:
Date:


USAble Mutual Insurance Company, d/b/a Arkansas Blue Cross and Blue Shield


Name:
Title:
Date:


California Physici, is' Service d/b/a Blue Shield of California


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